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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA



Doe YZ,                                                       Case Number: 15cv1151 (ADM/SER)

               Plaintiff,
                                                      PLAINTIFFS’ MEMORANDUM OF LAW
v.                                                      TO PROCEED UNDER PSEUDONYMS

Shattuck-St. Mary’s School,

               Defendant.

Doe XY,                                                       Case Number: 15cv1154 (ADM/SER)

               Plaintiff,
v.

Shattuck-St. Mary’s School,

               Defendant.

Doe AB,                                                       Case Number: 15cv1155 (ADM/SER)

               Plaintiff,

v.

Shattuck-St. Mary’s School,

            Defendant.
______________________________________________________


                                         INTRODUCTION

       Plaintiffs, who were sexually assaulted as minors by one of Defendant’s agents, should be

permitted to advance their lawsuits using pseudonyms. As victims of crimes suffered as children,

Plaintiffs’ privacy interests in maintaining their anonymity heavily outweigh the First Amendment

interest in public proceedings. If compelled to publicly disclose their identities, Plaintiffs will face
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additional trauma, exacerbating the injuries and damages that Plaintiffs have already incurred as a

result of the sexual abuse. Since the Court can maintain the public’s interest in following court

proceedings while safeguarding Plaintiffs’ privacy interests, Plaintiffs should be allowed to

proceed using pseudonyms.

                                              FACTS

       Plaintiffs filed their actions on March 4, 2015 alleging causes of action for negligence,

negligent supervision and negligent retention against Defendant Shattuck St. Mary’s School

(hereinafter “Shattuck”). Plaintiffs as minor students at the school were sexually abused by

Shattuck’s employee, Lynn Seibel. (Doe XY Compl. ¶ 19, Doe YZ Compl. ¶ 19, and Doe AB

Compl. ¶ 19). Each Plaintiff initiated his action under a ‘Doe’ name while simultaneously

disclosing their true identities to Shattuck under separate cover. (Doe XY Compl. ¶ 1, Doe YZ

Compl. ¶ 1, and Doe AB Compl. ¶ 1). On May 14, 2015, Plaintiff moved to proceed anonymously.

On June 16, 2015, the parties filed a joint stipulation regarding Plaintiffs’ use of pseudonym, in

which the parties stipulated to agree to permit Plaintiffs to use a pseudonym. Accordingly by letter

of June 16, 2015, Plaintiffs withdrew their motion hearing. In response, the Court entered an Order

to Show Cause on June 17, 2015 regarding the use of pseudonyms to address the interests of the

public's right of access to open courts. This brief is submitted in response to this Court's Order to

Show Cause

       Shattuck does not oppose Plaintiffs’ use of pseudonyms to protect their identities in these

lawsuits and agrees that the cases subject Plaintiffs to disclosure of the utmost intimacy. (See

Exhibit 1 to Affidavit of Sarah G. Odegaard, Stipulation of Parties (hereinafter “Stip”)). Due to

the nature of the claims relating to sexual abuse perpetrated on Plaintiffs when they were minors,




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Shattuck has agreed to disclose Plaintiffs identities only as necessary to investigate and defend its

claims. (Id.)

                                          ARGUMENT

        In determining whether to allow a plaintiff to proceed anonymously, the court weighs “the

party’s need for anonymity” against “prejudice to the opposing party and the public’s interest in

knowing the party’s identity.” Doe No. 2 v. Kolko, 242 F.R.D. 193, 195 (E.D.N.Y. 2006). While

there is “obvious and compelling” interest in public proceedings, “a small number of court-created

exceptions” permit anonymity. Luckett v. Beaudet, 21 F. Supp. 2d 1029, 1029 (D. Minn. 1998).

“Any First Amendment right of access … [is] qualified, not absolute.” Webster Groves School

Dist. v. Pulitzer Pub. Co., 898 F.2d 1371, 1374 (8th Cir. 1990).

        While there is no express standard to guide the court in balancing competing concerns,

courts have considered the following five factors in deciding whether to allow the use of fictitious

names: “1) whether the plaintiff is challenging governmental activity, 2) whether the plaintiff's

action requires disclosure of information of the utmost intimacy, 3) whether identification would

put the plaintiff at risk of suffering physical or mental injury, 4) whether the defendant would be

prejudiced by allowing the plaintiff to proceed anonymously, and 5) the public interest in

guaranteeing open access to proceedings without denying litigants access to the justice system.”

Doe No. 2 at 195; see also James v. Jacobson, 6 F.3d 233, 238 (4th Cir. 1993); Plaintiff B. v.

Francis, 631 F.3d 1310, 1315-1316 (11th Cir. 2011).

        Therefore, in a civil suit in federal court, a plaintiff may proceed anonymously with a

showing that he “has a substantial privacy right which outweighs the ‘customary and

constitutionally-embedded presumption of openness in judicial proceedings…”. Plaintiff B v.

Francis, 631 F.3d 1310, 1315-16 (11th Cir. 2011)(internal citations omitted).            Indeed “in



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evaluating whether a plaintiff has shown that he has such a right, the court ‘should carefully review

all the circumstances of a given case and then decide whether the customary practice of disclosing

the plaintiff's identity should yield to the plaintiff's privacy concerns.’” Id., (internal citations

omitted).

       Considering the competing interests and all of the circumstances in these cases, four of the

five factors weigh heavily in Plaintiffs’ favor and support their request to proceed anonymously.

    1. ALLOWING PLAINTIFFS TO MAINTAIN ANONYMITY FURTHERS THE
       PUBLIC INTEREST IN GUARANTEEING OPEN ACCESS TO PROCEEDINGS
       WITHOUT DENYING LITIGANTS ACCESS TO THE COURTS.

       There is a strong public interest in ensuring that sexual abuse victims, like Plaintiffs here,

are granted access to the courts where their cases may be fairly adjudicated. However, this goal

cannot be achieved if litigants are chilled from ever reaching the courthouse steps for fear of

repercussions that would follow if their identities were forced to be made public.

       Child sexual abuse inflicts lifelong harm, often psychologically damaging victims into

adulthood. (See Aff. of Robert Geffner, Ph.D. (hereinafter “Aff. of Geffner”)). Many victims fear

coming forward because of the shame, stigmatization, humiliation and embarrassment they

experience long after the sexual acts. Id. Mandating public identification will dissuade these

victims from pursuing meritorious claims because of the risk of further psychological harm. Id.

The public has an interest in protecting the privacy of plaintiffs so that plaintiffs are not

discouraged from asserting their claims. See Doe v. Provident Life and Acc. Ins. Co., 176 F.R.D.

464, 467 (E.D. Pa. 1997). The public also has an interest in protecting plaintiffs’ identities “so that

other victims will feel more comfortable suing to vindicate their rights.” Doe v. Evans, 202 F.R.D.

173, 176 (E.D. Pa. 2001).

       As stated by the Sixth Circuit Court of Appeals, “a historic social stigma attach[s] to

victims of sexual violence.” Bloch v. Ribar, 156 F.3d 673, 685 (6th Cir. 1998). This tradition of
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“blaming the victim” sets “victims apart from those of other violent crimes.” Id. “The interest in

protecting victims of sexual violence from humiliation, among other injuries, has prompted states

to pass rape shield laws and to advocate against the publication of rape victims’ names.” Id. Federal

law similarly supports courageous sexual abuse victims who confront their abusers. See FED. R.

EVID. 412 (limiting character evidence of victims of sexual abuse). Indeed Minnesota has a rape

shield law. See Minn. Stat. § 609.347 (rape shield law). Denying child abuse victims the right to

pursue civil cases anonymously would lead to an impossible position for child sexual abuse victims

– allowing them to pursue justice only at the cost of revealing their identities and associating their

names with the horrible details of their sexual abuse as children. Faced with this proposition, many

victims would have to forego filing meritorious claims. This effectively denies victims of sexual

abuse access to the courts.

       Weighed against the interest in allowing victims to litigate their cases, the presumption of

open access is easily overcome. The public’s interest is not hindered by not knowing Plaintiffs’

true names. See Roe v. Wade, 410 U.S. 113, 93 S.Ct. 705 (1973); see also Doe v. Evans, 202 F.R.D.

173, 176 (E.D. Pa. 2001) (protecting a plaintiff’s identity does not impede the public’s ability to

follow the proceedings). Plaintiffs agree that these issues are important for the public to follow.

Plaintiffs have filed a public action which allows the public the ability to access the proceedings

while maintaining confidentiality of Plaintiffs’ identities. As the public’s access is only slightly

impeded by not knowing Plaintiffs’ identities, Plaintiffs should be permitted to maintain their

anonymity.

    2. THESE CASE INVOLVES DISCLOSURE OF INFORMATION OF THE
       UTMOST INTIMACY.

       “Where the issues involved are matters of a sensitive and highly personal nature … the

normal practice of disclosing the parties’ identities yields to a policy of protecting privacy in a


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very private matter.” Southern Methodist University Ass’n of Women Law Students v. Wynne &

Jaffe, 599 F.2d 707, 712 (5th Cir. 1979) (internal citation omitted). Here, the normal practice of

public disclosure should yield to protect Plaintiffs’ privacy regarding this very sensitive matter.

       Plaintiffs were children when they were sexually abused by their teacher, Lynn Seibel.

Seibel sexual grooming and abuse of Plaintiffs and other students included hideous and bizarre

acts such as group masturbation, penis enlargement exercises, preying on students in the showers

and naked dance parties. (Doe XY Compl. ¶¶ 9-11, Doe YZ Compl. ¶ 36, and Doe AB Compl. ¶ 36)

Seibel’s sexual abuse of each Plaintiff caused significant emotional distress, including

embarrassment, loss of self-esteem, humiliation and depression. (Doe XY Compl. ¶ 36, Doe YZ

Compl. ¶ 36, and Doe AB Compl. ¶ 36). The issues involved could not be of a more sensitive and

highly personal nature. As the case develops, information about Seibel’s manipulative sexual acts

with Plaintiffs when they were children and other students at Shattuck will become known to the

public. In addition to explicit descriptions about Seibel’s sexual abuse of the minor students, highly

personal details about the trauma Plaintiffs have endured and resulting damages will be revealed,

including particulars about sexual confusion and mental illness.

       Courts across the country have held similar circumstances to be sensitive and highly

personal enough to warrant anonymity in civil cases. See Doe v. City of Minneapolis, 898 F.2d

612, 613 n. 1 (8th Cir. 1990) (adult plaintiff challenging ordinance prohibiting adult bookstores);

Doe v. Dept. of Transp., Fed. Aviation Admin., 412 F.2d 674, 675 (8th Cir. 1969) (plaintiff

challenging administrative decision denying plaintiff certificate based on homosexuality); Plaintiff

B. v. Francis, 631 F.3d 1310 (11th Cir. 2011) (district court abused discretion in not allowing

plaintiffs who were sexually exploited as minors to maintain anonymity); Doe No. 2 v. Kolko, 242

F.R.D. 193 (E.D.N.Y. 2006) (adult plaintiff who was sexually abused as a minor permitted to



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proceed anonymously); Doe v. Hartford Life and Acc. Ins. Co., 237 F.R.D. 545 (D.N.J. 2006)

(plaintiff could be anonymous where she had not disclosed her mental illness to coworkers);

United States v. Doe, 655 F.2d 920, 922 (9th Cir. 1981) (defendant’s name concealed to prevent

harassment and injury). The United States Supreme Court has also implicitly endorsed the use of

pseudonyms to protect a plaintiff’s privacy. See e.g., Roe v. Wade, 410 U.S. 113, 93 S.Ct. 705

(1973) (abortion); Doe v. Bolton, 410 U.S. 179, 93 S.Ct. 739 (1973 (abortion); Poe v. Ullman, 367

U.S. 497, 81 S.Ct. 1752 (1961) (birth control).

       Exceptional circumstances that warrant the use of fictitious names include protecting the

privacy of children, rape victims and other particularly vulnerable parties or witnesses. Doe v. Blue

Cross & Blue Shield United of Wis., 112 F.3d 869. 872 (7th Cir. 1997); see also Doe v. City of

Chicago, 360 F.3d 667, 669-70 (7th Cir. 2004) (use of fictitious name is appropriate where plaintiff

is a minor, rape or torture victim or was subject to sexual assault).

       Here, the sensitive nature of child sexual abuse permits anonymity. The 11th Circuit

articulated the particularized gravity and traumatic nature of the sexual exploitation of children,

just as the childhood sexual abuse at issue here: “The issues involved in this case could not be of

a more sensitive and highly personal nature—they involve descriptions of the Plaintiffs in various

stages of nudity and engaged in explicit sexual conduct while they were minors who were coerced

by the Defendants into those activities.” Plaintiff B v. Francis, 631 F.3d 1310, 1317 (11th Cir.

2011). Just as in Plaintiff B, plaintiffs here were minors at the time of the sexual abuse at issue in

these cases, coerced into the conduct by one of Defendant’s agents. Additionally, Plaintiffs here

were subject to physical invasion of their bodies, as in Plaintiff B.

       This case is unlike Luckett v. Beaudet, 21 F. Supp. 2d 1029, 1029 where the court found

that the plaintiff could not proceed in the sexual harassment lawsuit using a pseudonym. In



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Luckett, the plaintiff was an adult at the time of the alleged conduct, not a minor as the plaintiffs

in this matter. Id. Also, in Luckett the conduct was discrimination, innuendo or coercion unlike

the criminal sexual conduct at issue here. Id. These distinctions are important as the law protects

the anonymity of sexual assault victims precisely because of the unique invasion of privacy sexual

abuse entails. See Minn. Stat. § 609.347 (rape shield law). “Sexual assault victims have

unfortunately had to endure a terrible invasion of their physical privacy…[t]hey have a right to

expect that this violation will not be compounded by a further invasion of their privacy.” Doe No.

2 v. Kolko, 242 F.R.D. 193, 196 (internal citation omitted).

       Although courts have denied the use of pseudonyms for victims of sexual assault, even

when the plaintiffs allege they would suffer personal embarrassment by forced disclosure of their

identities, in those cases, the plaintiffs were adults at the time they were sexually assaulted. Doe

v. Frank, 951 F.2d 320, 324 (11th Cir.1992); Doe v. Del Rio, 241 F.R.D. 154, 159–62

(S.D.N.Y.2006) (holding that plaintiffs alleging sexual abuse by police officer could not proceed

anonymously); Doe v. Shakur, 164 F.R.D. 359, 360–62 (S.D.N.Y.1996) (denying motion by

plaintiff suing hip-hop artist for brutal sexual assault requesting to remain anonymous).

       Here, the Plaintiffs were minors, children in a private boarding school, at the time of the

sexual abuse. In addition, Plaintiffs will suffer much more than embarrassment, as argued infra,

section 3. Recognizing the sensitive and highly personal nature of child sexual abuse here, the

weight of factor alone should be sufficient to permit Plaintiffs to proceed anonymously.

    3. IDENTIFYING PLAINTIFFS PUBLICLY PUTS THEM AT RISK OF
       SUFFERING PHYSICAL AND MENTAL INJURY.

       To date, Plaintiffs have been able to avoid publicly disclosing their identities. Their

identities were not publicly disclosed through the related criminal investigation and Plaintiffs have

shared that they were abused with only a few people. Privacy and anonymity is a great concern to


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Plaintiffs. For survivors of childhood sexual abuse, if their identities are made public, the

likelihood of suffering aggravated shame and stigmatization greatly increases, which can cause

ongoing PTSD, depression, psychological distress and social problems. (See Aff. of Geffner)

       Courts have long recognized that where litigants may suffer extreme distress or danger

from their participation in a lawsuit, proceeding anonymously is warranted. Lozano v. City of

Hazelton, 496 F.Supp.2d 477, 505 (M.D. Pa. 2007) aff’d in part, vacated in part, 620 F.3d 170 (3d

Cir. 2010) (reversed on other grounds) (citing Does v. Advanced Textile Corp., 214 F.3d 1058,

1063 (9th Cir. 2000); Doe v. City of Chicago, 360 F.2d 667, 669. In Doe No. 2 v. Kolko, 242 F.R.D.

193, the court held that fear of retaliation and ostracism from members of the plaintiff’s community

was sufficient evidence that disclosure would be a serious risk of harm to plaintiff’s mental health.

Id. at 196. Similarly, in Doe 130 v. Archdiocese of Portland in Oregon, the court held that “the

experience of sexual abuse can be deeply traumatic and public knowledge of such abuse can trigger

new trauma even years after the fact.” 2008 WL 656021 at *4 (D. Or. Mar. 6, 2008) (attached as

Exhibit 2 to Affidavit of Sarah G. Odegaard). In allowing the plaintiff to proceed using a

pseudonym, the court found that the child sexual abuse victim “faces a real risk of harm to which

he, as a survivor of clergy sexual abuse, is peculiarly vulnerable and his fears regarding that risk

are entirely reasonable.” Id.

       The same is true here. Public disclosure of Plaintiffs identities, where Plaintiffs have not

shared their experience with even their closest relatives, would subject them to a great risk of

further trauma and emotional distress. (See Aff. of Geffner). Public disclosure of their names

may not only impede their recovery and harm their mental health, it will also inflict serious pain

on their families who many experience additional emotions of guilt, sadness and shame. Plaintiffs

should not be forced to publicly disclosure their identities as the price for justice.



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    4. DEFENDANT IS NOT PREJUDICED BY ALLOWING PLAINTIFF TO
       PROCEED ANONYMOUSLY.

        Shattuck is aware of Plaintiffs’ names and identifying information about Plaintiffs which

will enable it to conduct discovery and defend its case. In fact, Shattuck agrees that no prejudice

is suffered by permitting Plaintiffs to use pseudonyms and has stipulated to allowing Plaintiffs to

use Doe designations. (See Exhibit 1, Stipulation of Parties). Thus the consideration of fairness to

the defendant cited by some courts to weigh in favor of disallowing pseudonyms is not present

here. Shattuck has stipulated to agree to Plaintiffs’ use of pseudonyms. This is unlike Doe v.

Shakur, 164 F.R.D. 359, 361 (S.D.N.Y. 1996), where the court found that it would be “serious

disadvantage” for a plaintiff to bring accusations against a defendant behind a cloak of anonymity

while the defendant defended itself in public in a civil suit. Here in contrast, Defendant Shattuck

does not oppose Plaintiffs remaining under a cloak of anonymity for public purposes, while

disclosing their identities to Defendant Shattuck for the purposes of investigating and defending

the suit.

    5. PLAINTIFF IS NOT CHALLENGING GOVERNMENT ACTIVITY.

        Where a plaintiff challenges the validity of government activity, anonymity is often granted

because the plaintiff may have to admit they violated state laws or government regulations or

wished to engage in prohibited conduct. S. Methodist Univ. Ass'n of Women Law Students v. Wynne

& Jaffe, 599 F.2d 707, 713 (5th Cir. 1979). This factor is neutral, as Plaintiffs here are not

challenging government activity.

                                          CONCLUSION

        Given the sensitive and highly personal nature of the issues in these cases and the risk of

subjecting Plaintiffs to additional trauma if forced to disclose their identities publicly in a case of

utmost intimacy, Plaintiffs should be permitted to proceed with their cases using pseudonyms.


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Weighing the interest of access to courts for plaintiffs, victims of a crime of sexual assault of a

minor, against the First Amendment interest in ‘truly public’ proceedings, a compromise is reached

by allowing these cases to remain public actions without disclosing Plaintiffs’ identities.



Dated: July 6, 2015.                          JEFF ANDERSON & ASSOCIATES, P.A.


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